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IN THE UNITED STATES DISTRICT CoURT w BY ULE';/__ m
FOR THE wESTERN DISTRICT 0F TENNESSEE 05
wEsTERN I)IVISION J_uL ~5 PH 3= 15
WANDA S. FARMER, HUMS M. cong
§ a%%§ _Dsrmroam
,‘ g
Plaintiffs, ) J‘i §.§WHS
)
)
vs. ) _ Civil No. 04-2574 D/Ph
)
)
TENNESSEE AIR NATlONAL GUARD, )
ET AL., )
)
Defendant. )

 

ORDER GRANTING DEFENDANT’S MOTION TO STAY DISCOVERY

 

For the reasons set forth in Defendant’s Memorandum, the court grants the Motion to

Stay Discovery.

SO ORDERED:

Thisthe fig dayof ,l§!\§j 5 ,2005.

 

Fa:gistrate JLnge Tu M. Pham

Thfs document entered on the docket sheet in compliance

with ama se and/or men FRcP on ’7 ~/1~0_5 GQO

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Honorable Bernice Donald
US DISTRICT COURT

